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                        UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION
Defense Distributed, Second Amendment            §
Foundation, Inc.                                 §
                                                 §     NO: AU:18-CV-00637-RP
vs.                                              §
                                                 §
Gurbir S. Grewal, Michael Feuer, Andrew
Cuomo, Matthew Denn, Josh Shapiro, Thomas
Wolf

                                             ORDER


       The Court hereby sets and directs counsel for the the parties- Defense Distributed, Second
Amendment Foundation, Inc, and Gurbir S. Grewal, to appear by phone for a telephone conference
on January 10, 2019 at 11:30 AM . Counsel for Plaintiff shall be responsible for coordinating the
call and providing dial-in information to opposing counsel and the Courtroom Deputy at
julie_golden@txwd.uscourts.gov, no later than 9:00 AM (CST) on January 9, 2019.




               SIGNED on 9th day of January, 2019.



                                                     ______________________________
                                                     ROBERT PITMAN
                                                     UNITED STATES DISTRICT JUDGE
